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                UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                       AUSTIN DIVISION



MWK RECRUITING, INC,

          Plaintiff
                                          Case No. 1:18-cv-00444-RP
         v.

EVAN P. JOWERS,

          Defendants



EVAN P. JOWERS,

          Counterclaimant

         v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED,

          Counterdefendants



MWK’S RESPONSE TO JOWERS’S OBJECTIONS TO MWK’S MOTION TO
 STRIKE JOWERS’S REPLY OR, ALTERNATIVELY, MWK’S REPLY IN
   SUPPORT OF ITS CROSS-MOTION FOR SUMMARY JUDGMENT
            REGARDING LIQUIDATED DAMAGES
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      A.     The Motion Properly Seeks to Strike Jowers’s New Argument on
             Reply

      MWK hereby responds to Jowers’s Objections (the “Objections”). (Dkt. 278).

Jowers mischaracterizes MWK’s Motion to Strike or, Alternatively, MWK’s Reply in

Support of its Cross-Motion for Summary Judgment Regarding Liquidated Damages

(the “Motion”). (Dkt. 277). MWK did not move to strike Jowers’s entire Reply to

MWK’s Response to Jowers’s Motion for Summary Judgment (the “Reply”). (Dkt.

275). Instead, MWK moved to strike Jowers’s argument that MWK had “never sought

liquidated damages as a remedy until [MWK] served supplemental responses to

discovery requests on February 14, 2021.” (Dkt. 275, at 9 of 15). Specifically, MWK

asserts in the Motion that the “Court should strike the argument that the Second

Amended Complaint did not properly invoke the 2006 Jowers Agreement’s liquidated

damages clause.” (Motion, Dkt. 277, at 3). Jowers had not presented this argument

in his Motion for Summary Judgment (the “MSJ”). (Dkt. 266). To the contrary, Jowers

had argued in the MSJ that the liquidated damages clause was an unenforceable

penalty. (Dkt. 266, at 16-19 of 27). Only after MWK pointed out that Jowers had never

pled this defense to the liquidated damages clause in any of his three answers or

sought an amendment to his answer did Jowers change tactics in the Reply to argue

that MWK never properly sought liquidated damages. This was a new argument

urged for the first time in the Reply and, therefore, improper. Gillaspy v. Dallas

Indep. Sch. Dist., 278 Fed.Appx. 307, 315 (5th Cir.2008) (“It is the practice of this

court and the district courts to refuse to consider arguments raised for the first time

in reply briefs.”); United States v. Jackson, 426 F.3d 301, 304 n. 2 (5th Cir.2005)

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(“Arguments raised for the first time in a reply brief, even by pro se litigants ... are

waived.”).


      B.     MWK Properly Cross-Moved for Summary Judgment on
             Liquidated Damages

      MWK’s response to the MSJ included a cross-motion for summary judgment

on the issue of liquidated damages (the “Cross-Motion”). (Dkt. 273, at 14 of 24). The

Cross-Motion asserted that, since Jowers had failed to assert in his pleadings the

defense he sought to raise for the first time on summary judgment, the defense was

waived, and the Court should hold that the liquidated damages clause is enforceable

as written. Id. Because Jowers had raised the issue of liquidated damages in the MSJ,

a cross-motion for summary judgment on the same issue by MWK was proper. Indeed,

even absent a cross-motion for summary judgment by MWK, the issue of whether the

penalty defense to the liquidated damages clause may be asserted by Jowers has been

fully briefed by both parties and is ripe for summary judgment against Jowers. See,

e.g., U.S. Fleet Servs. v. City of Fort Worth, 141 F. Supp. 2d 631, 637 n. 3 (citing Matter

of Caravan Cargo, Inc., 864 F.2d 388 (5th Cir. 1989) for the proposition that “when

one party moves for summary judgment the district court, in an appropriate case,

may grant summary judgment against the movant, even though the opposite party

has not actually filed a motion for summary judgment.”).


      C.     The Motion is Not a Sur-Reply

      Jowers’s Reply was, in part, a response to the Cross-Motion. The Motion

requested that the Court, alternatively, consider the Motion to be a reply in support

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of MWK’s Cross-Motion. (Motion, Dkt. 277, at 3 of 6). Jowers now argues, illogically

and without reference to any authority, that MWK should not be entitled to reply in

support of its Cross-Motion unless MWK first seeks leave to file a sur-reply.

(Objection, Dkt. 278, at 2, n.1). But MWK merely requested that, “to the extent that

the Court should consider Jowers’s Reply (Dkt. 275) as a response to MWK’s cross-

motion, the Court should consider this MWK’s reply to that response.” (Motion, Dkt.

277, at 3). Local Rule CV-7(f)(1) states that a “party may file a reply in support of a

motion.” If the Court considers the Reply (Dkt. 275) to be a response to the Cross-

Motion (Dkt. 273, at 14 of 24), then MWK is entitled to a reply and the Motion was

that reply.


      D.      Conclusion

      The Motion was a proper attack on Jowers’s new argument raised in his Reply

that liquidated damages was not properly pled as a remedy by MWK. The Court

should grant summary judgment that Jowers has failed to plead the defense to the

liquidated damages clause he now seeks to invoke, and that the clause is therefore

enforceable as written.




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Dated: April 27, 2021                    Respectfully Submitted

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